Case 2:20-cv-13134-LVP-RSW
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                                 EXHIBIT A




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                                            N
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                       3/-


★I                     I NEW YORK CLE CERTIFICATE OF ATTENOANCE
     Ci       niHii"          MAY BE USED ONLY FOR PROGRAMS ACCREDITED BY THE NYS CLE BOARD. ALL INFORMATION MUST BE ENTERED BY THE CLE PROVIDER.


 This certificate is issued under §1500.4(b)(12) of the NYS CLE Program Rules and under §10(B) of the NYS CLE Board
 Regulations and Guidelines. By issuing this certificate, the CLE provider verifies that the attorney named below completed this
 program. Attorneys must retain their certificates of attendance for at feast four(4) years from the date of the program.


 A. Attorney and Program Information                                                                E. Credit for Attendance
                                                                                                    Award credit in accordance with §8(A)(4)(a) of the Regulations. Enter number of
 Howard Kleinhendler                                                                                credits earned in each category:
     A Name of Attorney                                                                             For Newly Admitted and/or Experienced Attorneys:
 The Fundamentals of Pleading Practice in State                                                           0 Ethics and Professionalism
 and Federal Court                                                                                        0 Skills
                                                                                                           1 Law Practice Management
                                                                                                          0 Areas of Professional Practice
     A Title of Program
                                                                                                    For Experienced Attorneys Only:
 Thursday, January 20, 2022
                                                                                                          0 Diversity, Inclusion and Elimination of Bias
     A Date(s) of Attendance (For self-study programs, indicate date attorney completed program,)
                                                                                                    In accordance with §10(B)(2) of the Regulations, for multiple breakout sessions,
                                                                                                    provider should attach a sheet indicating the sessions attended by the attorney.

     A Location of Program (City, State)

                Location Not Applicable (Check only for self-study programs.)
                                                                                                    F. Credit for Facuity Participation
                                                                                                    Award credit in accordance with §3(D) of the Regulations. Select participation
                                                                                                    type and enter number of credits earned in each category:
     B. Format of Program                                                                           For Experienced Attorneys Only:
     (Check only the format completed by the attorney to whom this certificate is issued.)
                                                                                                    O Speaker                                □ Panel Member
 □ 1. Traditional Live Classroom Format
                                                                                                    O Moderator                              L] Law Competition Facul ty
 n 2. Fully Interactive Videoconference                                                                       Ethics and Professionalism
          Live Simultaneous Transmission                                                                      Skills
          (webconference, teleconference, webcast, videoconference, satellite broadcast, etc.)
                                                                                                              Law Practice Management
          I    I 3. Questions Allowed During Program (Synchronous interactivity)
                                                                                                              Areas of Professional Practice
          Q 4. Questions Not Allowed During Program
                                                                                                              Diversity, Inclusion and Elimination of Bias

     0 5. On-Demand/Recorded (Audio/video)
                                                                                                    G. CLE Provider Information
     Q 6. Other (Describe)
     Newly admitted attorney format restrictions (except as provided in §2(A) and                   National Academy of Continuing Legal Education
     §2(F) of the Regulations):                                                                     A Provider Organization
     ● Formats 1 & 2 - acceptable for credit in any category
     ● Format 3 - unacceptable for Skills credit                                                    483 Hempstead Ave, West Hempstead, NY 11552
     ● Formats 4 & 5 - unacceptable for Skills or Ethics and Professionalism credit
                                                                                                    A Address

                                                                                                    212-776-4943
     C. Attorney’s Method of Participation                                    (Check only one)
                                                                                                    A Telephone
 O Group Setting, or
                                                                                                    Simcha Dornbush
 0            Individual/Self-Study (including an attorney individually dialing in or
                                                                                                    A Provider Agent Name            \
              logging in to a webconference, teleconference or webcast, or individually
              viewing/listening to a recorded program)

                                                                                                    A Provider Agent Signature
     D. Level of Difficulty                     (Check only one)
                                                                                                    The CLE Provider: (Check only one)
 The content ot the course is appropriate for:
                                                                                                    0 has been certified as an Accredited Provider by the
 0 BOTH newly admitted and experienced attorneys                                                    NYS CLE Board, or
   (transitional/nontransitional), or
                                                                                                    0 has had this individual course
 □ ONLY experienced attorneys (nontransitional), or                                                 accredited by the NYS CLE Board as:
                                                                                                                                                          A Course Number
 □ ONLY newly admitted attorneys (transitional)
                                                                                                    This certificate may NOT be used to award CLE credit to New York attorneys
                                                                                                    under New York’s Approved Jurisdiction policy.
     New York State CLE Board ● www.nycourts.gov/attorneys/cle ● Revised 01/18
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                                                       OF OONUNUiNO l-CORL EOUORTJDN

                                             NEW YORK STATE CONTINUING LEGAL EDUCATION
                                                ATTORNEY AFFIRMATION


          Title of Course: The Fundamentals ofPleading Practice in State and Federal Court

          Name of Instructor: Ryan R,Smith, Esq.

          Date Course Completed : 1/20/2022

          Credits Earned : 1 Law Practice Management

          Sku: LIT900

          Format: Online Video          Verification Code(s): STORE



                                                                  Attendee


          Name: Howard Kleinhendler           Firm:

          Address: 8 Cabinlield Circle

          City, State,Zip:Lakewood, NJ 08701

          Phone Number: 3478402188               Fax Number:

          Area of Practice:

          Bar Number: 2657120                   Birthday:

          By electronic signature below,I have certified that I have
          completed the above mentioned course and am entitled to claim
          CLE credit.                                                                  (NOT VALID WITHOUT STAMP)
          Retain this document for your records for 4 years Irom date of
          participation.


          Howard Kleinhendler
          Signature




                                               483 Hempstead Avenue,West Hempstead, NY 11552
                                                 Telephone: 866.466.2253 Fax : 516.481.4172
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NATIONAL ACADEMY
  OF CONTLNUING
 LEGAL EDUCATION




               The Fundamentals of Pleading
             Practice in State and Federal Court




                                                                                           Presented by:

                                                                          Ryan R. Smith, Esq.
                                                      Feldstein Grinberg Lang & McKee,P.C.
                                                                                412.263.6105
                                                                                      rrs@fglmlaw.com




                      phone : 866-466-2253 ● web : www.nacle.com ■ email: info@nacle.com
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                                     STATE COURT PLEADINGS

     Initiating the Lawsuit

         Typically a lawsuit may be initiated in one of two ways. One way to initiate the
         lawsuit is to file a Praecipe for Writ of Summons or what is known in some
         jurisdictions as simply a Writ. You may also initiate the lawsuit by filing a Complaint
         in the Court of Common Pleas of the appropriate county. Keep in mind that the
          mere filing of a Writ or Complaint, while, importantly, tolls the Statute of Limitations,
         does not guarantee that the pleading will be served on the Defendant(s). Most
         jurisdictions require service at the individual's place of residence, or in the case of a
         business, at the business headquarters, or its principal place of business. Typically,
         the Complaint or Writ is served by a Sheriff or Constable working in conjunction with
         the particular court where the pleading has been filed. It is, therefore, important to
         provide detailed information as to where the Writ or Complaint should be served.

         Because the filing of a Writ of Summons, or Writ, or the Complaint tolls the Statute of
         Limitations it is important to understand your jurisdiction's rules for computing time
         with regard to when the Statute of Limitation runs.

         In some jurisdictions the calculation period of time excludes the date of the incident
         (in a personal injury case, the date the plaintiff is injured), other jurisdictions include
         this date. The practitioner should also be aware as to whether his/her jurisdiction
         requires the computation of time using months or using days.

     Complaint

              What do I need to put in the Complaint?

              Obviously, you will need to identify the parties, therefore, a caption which
              includes the name of the court and the parties, i.e. the Plaintiff's name and the
              person or entity the Plaintiff is suing, must be contained in the caption.

              Drafting the Complaint

             Most states require what is known as "fact pleading". This simply means that
             one must include all of the facts needed to support the allegations you are
             making in your Complaint.

             If your jurisdiction is a notice of pleading state, then the emphasis is on notifying
             the parties of the issues in the case. This allows you to draft your Complaint in
             general terms without alleging detailed facts to support each claim.

             [SEE SAMPLE COMPLAINT]

              Responsive Pleadings

             Depending upon what is filed to initiate the suit, different responsive pleadings
             are appropriate. For example if a Praecipe for Writ of Summons is filed, then the
             next responsive would be a Rule to File a Complaint.

     {00497772.1}
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       IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                              CIVIL DIVISION - LAW

                               a minor, by her
       larents and n;      I guardians,AH|          Case Number;
              'and                     Is parents
                 I guardians
                 nd in their own right              COMPLAINT IN CIVIL ACTION

                                   Plaintiffs,
                                                    Code and Classification:
                    vs.
                                                    Filed on Behalf of                        a
                                                    minor, bv her parents and natural guardians.
                                                                       and                    as
                                  Defendant.         arents and natural guardians of
                                                                           ind in their own right,
                                                    Plaintiffs


                                                    0        Counsel of Record
                                                     I 1     Individual, If Pro Se

                                                    RYAN R. SMITH, ESQUIRE
                                                    Attorney's PA ID: #86913

                                                    FELDSTEIN GRINBERG LANG & McKEE
     NOTICE TO PLEAD
                                                    428 Boulevard of the Allies, Suite 600
                                                    Pittsburgh, PA 15219
     You are hereby notified to file a
                                                    (412)471-0677
     written response to the enclosed
     COMPLAINT IN CIVIL ACTION                      (412) 263-6129 FAX
                                                    E-mail: rrs@fglmlaw.com
     within twenty(20) days from the date
     of service hereof or a judgment may
                                                    Attorney's Firm ID; #084
     by entered against you.
                                                    JURY TRIAL DEMANDED

     Ryan R. Smith, Esquire
     Attorney for Plaintiff




     {00492381.1}
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           IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                                  CIVIL DIVISION - LAW

                               a minor, by her
         Barents and natural guardians,                Case Number:
         wilPland                     as parents
         an^ia^ral guardians of
         ■HM^and in their own right.
                                                 *1'


                                   Plaintiffs,

                       vs.



                                   Defendant.

                                      NOTICE TO DEFEND

               YOU HAVE BEEN SUED IN COURT. IF YOU WISH TO DEFEND AGAINST
         THE CLAIMS SET FORTH IN THE FOLLOWING PAGES, YOU MUST TAKE ACTION
         WITHIN TWENTY (20) DAYS AFTER THIS COMPLAINT AND NOTICE ARE SERVED,
         BY ENTERING A WRITTEN APPEARANCE PERSONALLY OR BY ATTORNEY AND
         FILING IN WRITING WITH THE COURT YOUR DEFENSES OR OBJECTIONS TO
         THE CLAIMS SET FORTH AGAINST YOU. YOU ARE WARNED THAT IF YOU FAIL
         TO DO SO THE CASE MAY PROCEED WITHOUT YOU AND A JUDGMENT MAY BE
         ENTERED AGAINST YOU BY THE COURT WITHOUT FURTHER NOTICE FOR ANY
         MONEY CLAIMED IN THE COMPLAINT OR FOR ANY OTHER CLAIM OR RELIEF
         REQUESTED BY THE PLAINTIFF. YOU MAY LOSE MONEY OR PROPERTY OR
         OTHER RIGHTS IMPORTANT TO YOU.

             YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
        NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
        THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A
        LAWYER. IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
        ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
        OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO
        FEE.


                                      Lawyer Referral Service
                                 Allegheny County Bar Association
                                         Floor, Koppers Building
                                        436 Seventh Avenue
                                       Pittsburgh, PA 15219
                                     Telephone: (412) 261-5555
I


        {00492381.1}
    Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7213 Filed 02/24/22 Page 8 of 97




            IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                                   CIVIL DIVISION - LAW

                                a minor, by her
          larents and natural guardians,ijWIW                   Case Number:
                   nd                   IS parents
         and natujal guardians
         MHHi^nd in their own right.

                                         Plaintiffs

                         vs.



                                         Defendant.

                                         COMPLAINT IN CIVIL ACTION

                  AND NOW, come the Plaintiffs,                          a minor, by and through her

         parents and natural guardians.                           nd              as parents and natural

         guardians of                      tnd in their own right, by and through her attorneys,

         Feldstein Grinberg Lang & McKee, P.C. and Ryan R. Smith, Esquire, and files the

        following Complaint:

                  1.    The Plaintiff,                      is a minor of fourteen (14) years of age, and

        currently resides at

        15071.

                 2.     The Plaintiffs                      ndi                husband and wife, are the

        parents and natural guardians a                            and currently reside a

                                                 'ennsylvania, 15071.

                 3.     Defendant,                        ●is an adult individual currently residing at

                                                      I


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Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7214 Filed 02/24/22 Page 9 of 97




             4.    On or about August 27, 2011, at approximately 11;00 p.m., the Defendant

     was operating a 2010 Cadillac sport utility vehicle in a southerly direction on Route 51 in

    the City of Pittsburgh.

             5.    Plaintiff.                  was seated in the rear passenger's seat of her

     parents’ 2002 Jeep Wrangler.

            6.                  'father,                    was lawfully and carefully operating the

    vehicle in a southerly direction on Route 51 at approximately 11;00 p.m.

            7,     There was, at the time of the accident, a fair amount of traffic on Route 51

    since a Steelers game had recently ended and fans who had attended the game were

    now making their way home.

            8.                       lOticed that the vehicle directly in front of him had come to

    a stop so he, accordingly, safely stopped his vehicle in order to await resumption of

    traffic movement.

            9.    After the            ihicle had come to a complete stop, it was rear-ended by

    another vehicle operated by the Defendant

            10.   At the time of the aforementioned accident, a policy of automobile

    insurance was affected between the Plaintiffs an^                      surance Company,

    which policy contained as a component, the full tort option.

                                               COUNT I

                                                     V,

            11.   The injuries of                         IS hereinafter described, were caused

    directly and proximately by the negligence of the Defendant^                        Wi generally

    and as set forth in the following particulars:



   {00492381.1}
                                                  -2-
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                    a.     In that the Defendant failed to reduce the speed of her vehicle as
                           she approached the <iB#l^/ehicle directly in front of her;

                    b.     In that the Defendant failed to keep a sharp lookout ahead;

                    c.     In that the Defendant failed to have the automobile which she was
                           operating under proper control so as to be able to bring it to a stop
                           within the assured clear distance ahead;

                    d.     In that the Defendant operated the automobile in a careless and
                           negligent manner under the circumstances with the automobile in
                           which the Plaintiff was a passenger in clear view;

                    e.     In that the Defendant operated the automobile in a careless and
                           negligent manner when she knew, or should have known that other
                           automobiles would be stopping and starting due to the heavy flow
                           of traffic, at that particular time, on Route 51;

                    f.     In that the Defendant operated her automobile at a dangerous and
                           excess rate of speed under the circumstances;

                    g.     In that the Defendant failed to sound the horn in her automobile to
                           warn the operator of the vehicle in which the Plaintiff was a
                           passenger of her impending approach;

                    h.     In that the Defendant failed to keep a proper and safe distance
                           between the vehicle and the automobile in which the Plaintiff was a
                           passenger;

                           In that the Defendant failed to heed the condition of vehicular traffic
                           around her while she was operating her automobile as described
                           aforesaid;

                           In that the Defendant otherwise failed to exercise that degree of
                           caution and care required under the circumstances; and

                    k.     In that the Defendant was following thi          'ehicle too closely in
                           violation of 75 Pa. C.S.A. §3310(a).

              12.   As a direct and proximate result of the incident as described aforesaid,

     Plaintiff,               , has suffered the following injuries, all or some of which may

     be permanent and lasting in nature:

                    a.     Contusion to her head;


     {00492381.1}
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                    b.    Concussion;

                   c.    . Sprain and strain of her cervical spine;

                   d.     Closed head injury;

                   e.     Post-concussive syndrome;

                   f.     Loss of short term memory;

                   g-     Loss of normal cognitive ability;

                   h.     Migraine headaches;

                   I.     Impaired memory;

                   j-     Concentration and focus impairment;

                   k.     Psychological and emotional trauma; and

                          Other cuts, abrasions and physical injuries.

             13.   As a further and proximate result of the incident as described aforesaid,

     Plaintiff,                has suffered and will in the future suffer great pain, suffering

     humiliation, embarrassment, mental anguish and inconvenience.

             14.   As a further and proximate result of the incident as described aforesaid,

     Plaintiff,'               has suffered a loss of life's enjoyment.

             15,   As a further and proximate result of the incident as described aforesaid

     Plaintiff,                has been unable to attend to her usual duties and school work

    during the period of her convalescence.

             16,   As a further and proximate result of the incident as described aforesaid,

    Plaintiff,                 has incurred various economic losses, including medical

    expenses.




    {00492381.1}
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Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7217 Filed 02/24/22 Page 12 of 97




              WHEREFORE, Plaintiff Gabriella Hatch, clainns the damages of Defendant,

                    I          in a sum in excess of $35,000.00 plus interest, and costs of suit

              and demands a jury by trial.

                                                      Respectfully submitted
                                                      FELDSTEIN GRINBERG LANG & McKEE


                                                      BY
                                                           Ryan R. Smith, Esquire
                                                           Counsel for Plaintiffs
     Date:




    {00492381.1}
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                                              VERIFICATION

              I                    parent and natural guardian o|                'erify that

     the averments of fact made in the foregoing COMPLAINT IN CIVIL ACTION are true

     and correct based upon information and belief. I understand that averments of fact and

     said document are made subject to the penalties of 18 Pa. C.S.A. §4904 relating to

     unsworn falsifications to authorities.



     Date:




    {00492381.1}
     Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7219 Filed 02/24/22 Page 14 of 97




                                                     VERIFICATION

                    I,                      arent and natural guardian of           verify that the
                                            $
            averments of fact made in the foregoing COMPLAINT IN CIVIL ACTION are true and

           correct based upon information and belief. I understand that averments of fact and said

           document are made subject to the penalties of 18 Pa. C.S.A. §4904 relating to unsworn

           falsifications to authorities.



            Date:




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    Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7220 Filed 02/24/22 Page 15 of 97




                                          CERTIFICATE OF SERVICE

                   I, Ryan R. Smith, Esquire, hereby certify that a true and correct of the foregoing

          COMPLAINT IN CIVIL ACTION was served on the 6th day of September, 2013, by

          U.S. first-class mail, postage pre-paid on:




                                                            By:
                                                                    Ryan R. Smith, Esquire




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               If a Complaint is filed, then you may file an Answer to the Complaint or
               Preliminary Objections to the Complaint.

      Answer

               The Answer must address each paragraph (allegation) in the Complaint. The
               Answer must admit or deny each averment of fact,

      Preliminary Objections

               Preliminary Objections or PO's may be filed by any party to any pleading.

               They are limited to:

                       1.     Lack of jurisdiction over the subject matter of the action or the
                              person of the Defendant, improper venue or improper form or
                              service of a Writ of Summons or Complaint-

                       2.     Failure of a pleading to conform to law or rule of court or inclusion
                              of scandalous or impertinent matter;

                       3.     Insufficiency of a pleading;

                       4.     Legal insufficiency of a pleading;

                       5.     Lack of capacity to sue, non-joinder of a necessary party or
                              misjoinder of a cause of action;

                      6.      Pendency of a prior action or agreement for alternative dispute
                              resolution;

                       7.     Failure to exhaust a statutory remedy; and

                       8.     Full, complete and adequate non-statutory remedy at law.

              As a practical matter, Preliminary Objections typically attack the sufficiency of the
              Complaint and seek to dismiss one or all of the causes of action contained
              therein due to failure to properly plead your case in your Complaint.

       New Matter

              All affirmative defenses should be pleaded in New Matter. Flowever, the
              affirmative defenses of assumption of the risk, comparative negligence and
              contributory negligence need not be pleaded.

                     [SEE SAMPLE NEW MATTER AND REPLY TO NEW MATTER]




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Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7222 Filed 02/24/22 Page 17 of 97

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             IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                                      CIVIL DIVISION

                                       linor by her           No,
           >arents and natural guardians,.                )
                                             IS parents   )
            d natural guardians o                         )   ANSWER AND NEW MATTER
                           their own right.               )
                                                          )
                                          Plaintiffs,     )
                                                          )   Filed on Behalf of Defendant
                    vs.                                   )
                                                          )   Counsel of Record for this Party;
                                                          )
                                                          )
                                          Defendant.      )
                                                          )
                                                          )
                                                          )
                                                          )
                                                          )
                                                          )
                                                          )
                                                          )
                         .NOTIFIED TO FILE WRITTEN        )
           YOU ARE HE)^
           RESPONSE TP T  ENCLOSED AN.SWER AND NEW
           NUTTERW Hi N in    YS FMM SERVICE HEREOF       )
                          LAY ■BE^OTERED AGAINST YOU.     )   JURY TRIAL DEMANDED


                                  iANT
                                                          )
                 ATTORNEY FORME
                                                          )
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7223 Filed 02/24/22 Page 18 of 97
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          IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,PENNSYLVANIA
                                   CIVIL DIVISION

                                    minor by her          )
         laients and natural guardians,,                  )
                                           parents        )
        and natural guardians of^HI                       )
                         their own right,                 )
                                                          )
                                           Plaintiffs,    )
                                                          )
               vs.                                        )
                                                          )
                                                          )
                                                          )
                                           Defendant.     )




                                           ANSWER AND NEW MATTER



                       AND NOW comes the Defendant,                          !f by and through her attorneys

                                                              and files the wthin Answer and New Matter to

       Plaintiffs’ Complaint:

                                                         ANSWER

                       1.       Defendant is without sufficient knowledge or information to form a belief

       as to the truth or falsity ofthe averments ofParagraph 1 ofPlaintiffs’ Complaint.

                      2.    . Defendant is without sufficient knowledge or information to form a belief

       as to the truth or falsity of the averments of Paragraph 2 of Plaintiffs’ Complaint.

                      J.      Defendant’s current address

                      4.      Admitted.
    Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7224 Filed
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                                      ● \' :                                                 5,;gv:-



                           5.      Defendant is without sufficient knowledge or information to form a belief

           as to the truth or falsity of the averments of Paragraph 5 of Plaintiffs’ Complaint.

                           6.      Defendant is without sufficient knowledge or information to form a belief

           as to the tmth or falsity of the averments of Paragraph 6 of Plaintiffs’ Complaint.

                           7.      Defendant is without sufficient knowledge or information to form a belief

           as to the truth or falsity of the averments of Paragraph 7 of Plaintiffs’ Complaint.

                           8.     Defendant is without sufficient knowledge or information to form a belief

           as to the tmth or falsity of the averments of Paragraph 8 of Plaintiffs’ Complaint.

                          9.      Denied. It is denied that at any time material hereto did this Defendant act

           in a negligent, careless and/or reckless manner and further, it is denied that any actions or

           inactions on the part of this Defendant were the sole or proximate cause of any alleged injuries or

           damages suffered by Plaintiff.

                           10.    Defendant is without sufficient knowledge or information to form a belief

           as to the truth or falsity of the averments of Paragraph 10 of Plaintiffs’ Complaint.

                                                              COUNTI




                          11.     Denied. It is denied that at any time material hereto did this Defendant act

          in a negligent, careless and/or reckless manner and further, it is denied that any actions or

          inactions on the part of this Defendant were the sole or proximate cause of any alleged injuries or

          damages suffered by Plaintiff.




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                                        o                      g‘-;sl;
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                            12.    Denied. It is denied that at any time material hereto did this Defendant act

            in a negligent, careless and/or reckless manner and further, it is denied that any actions or

            inactions on the part of this Defendant were the sole or proximate cause of any alleged injuries or

            damages suffered by Plaintiff.

                           13.     Denied. It is denied that at any time material hereto did this Defendant act

            in a negligent, careless and/or reckless manner and further, it is denied that any actions or

            inactions on the part of this Defendant were the sole or proximale cause of any alleged injuries or

            damages suffered by Plaintiff.

                           14.     Denied. It is denied that at any time material hereto did this Defendant act

            in a negligent, careless and/or reckless manner and further, it is denied that any actions or

           inactions on the part of this Defendant were the sole or proximale cause of any alleged injuries or

           damages suffered by Plaintiff.

                           15.    Denied. It is denied that at any time material hereto did this Defendant act

           in a negligent, careless and/or reckless maimer and further, it is denied that any actions or

           inactions on the part of this Defendant were the sole or proximale cause of any alleged injuries or

           damages suffered by Plaintiff.

                           16.    Denied. It is denied that at any time material hereto did this Defendant act

           in a negligent, careless and/or reckless manner and further, it is denied that any actions or

           inactions on the part of this Defendant were the sole or proximate cause of any alleged injuries or

           damages suffered by Plaintiff.


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     Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7226 Filed 02/24/22 Page 21 of 97
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              r .




                           WHEREFORE, Defendant requests judgment inher favor and against Plaintiff on

            Plaintiffs’ Complaint.

                                                        NEW MATTER

                           17.       Paragraphs 1 through 16 inclusive of this Answer are incorporated herein

            by reference as though same were set forth at length.

                           18.       Plaintiffs’ claims are barred, limited or restricted by the Provisions of the

            Pennsylvania Motor Vehicle Financial Responsibility Law.

                           19.       Plaintiffs’ claims are barred, limited ot restricted by the Doctrines of

            Contributory Negligence, Comparative Negligence, Last Clear Chance and/or Assumption of

            Risk.

                          20.        Plaintiffs’ claims are barred, limited or restricted by the Provisions of the

            Pennsylvania Comparative Negligence Law.

                          21.        Plaintiffs have failed to mitigate damages,

                          22.        The injuries and damages complained ofby the Plaintiff were preexisting

           to the date of the alleged accident and as such, said injuries and damages are hereby denied.

                          23.        Plaintiffs’ claims as alleged are excessive and unreasonable.

                          24.        Plaintiffs’ claims are barred by the applicable Sta.tute of Limitations

           governing the timely bringing of their claim.
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                          25.        The Defendant hereby asserts any and all defenses available to her under

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           the Pennsylvania Motor Vehicle Financial Responsibility Act as amended including but not



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            limited to all defenses available to the Defendant under circumstances of any election by the

            Plaintiff for limited tort option in Plaintiffs’ own automobile insurance policy.

                             26.    Defendant hereby asserts any and all defenses available to him under the

           Fair Share Act.

                             WHEREFORE, Defendant requests judgment in her favor and against Plaintiff on

           Plaintiffs’ Complaint.




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     Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7228 Filed 02/24/22 Page 23 of 97 %
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                                                            VERIFICATION



                          I,                      Defendant herein, verify that the averments of fact made

              in the foregoing Answer and New Matter are true and correct based upon information and

              belief. I understand that averments of fact in said document are made subject to the

              penalties of 18 Pa, C.S. Section 4904 to unsworn falsifications to authorities.




              DATE;
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Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7229 Filed 02/24/22 Page 24 of 97                                        V
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                                                 i   \-/K                                              /       .1- ■■●"




                                            CERTIFICATE OF SERVICE


                       I hereby certify that a true and correct copy of the within Answer and New Matter
                                                                        i

        was served upon the following counsel of record on the l_            day of               , 2013, by

        First Class U.S, Mail, postage prepaid;


                                                Ryan R. Smith, Esquire
                                           Feldstein Grinberg Lang & McKee
                                            428 Blvd of the Allies, Suite 600
                                                 Pittsburgh PA 15219




                                                 By:

                                                            Attofeey for Defendant
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7230 Filed 02/24/22 Page 25 of 97




       IN THE COURT OF COMMON PLEAS OF ALLEGHENr COUNTY. PENNSYLVANIA
                              CIVIL DIVISION - LAW

                                minor, by her
      parents and natural guardians                 Case Number;
                i                   , as parents
      and natural guardians                         REPLY TO NEW MATTER OF
                 id in their own right,             DEFENDANT

                                  Plaintiffs,       Code and Classification:

                     vs.                            Filed on Behalf of                       'a
                                                    minor, by her parents and natural guardians
                                                                                              as
                                                    parents and natural guardians of
                                  Defendant.       4                      and iri their own right,
                                                   Plaintiffs

                                                    0        Counsel of Record
                                                     n       Individual, If Pro Se

                                                   RYAN R. SMITH, ESQUIRE
                                                   Attorney's PAID: #86913
                                                   FELDSTEIN GRINBERG LANG & McKEE
                                                   428 Boulevard of the Allies, Suite 600
                                                   Pittsburgh, PA 15219
                                                   (412) 471-0677
                                                   (412) 263-6129 FAX
                                                   E-mail: rrs@fglmlaw.com

                                                   Attorney's Firm ID; #084

                                                   JURY TRIAL DEMANDED




      {00497749.1}
    Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7231 Filed 02/24/22 Page 26 of 97




            IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                                   CIVIL DIVISION - LAW

                                   minor, by her
                  and natural guardians,.                Case NumberJ
                                      Ifcas parents
          and natural guardians
                       in their own right.

                                        Plaintiffs,

                          vs.



                                        Defendant.

                        REPLY TO NEW MATTER OF DEFENDANT’

                  AND NOW,come the Plaintiffs,                      a minor, by and through her

          parents and natural guardians                                     by and through her

          attorneys, Feldstein Grinberg Lang & McKee, P.C. and Ryan R. Smith, Esquire, and

          files the following Reply to Defendant's New Matter:

                  1,      Paragraph 17 of Defendant's New Matter is a paragraph of incorporation

          to which no reply is required.

                  2.      Paragraph 18 of Defendant's New Matter is a bare conclusion of law to

          which no response is required. To the extent a response is deemed required, same is

          denied and strict proof thereof is demanded at time of trial.

                  3.     Paragraph 19 of Defendant's New Matter is a conclusion of law to which

          no response is required, To the extent an answer is deemed required, same is denied

          and strict proof thereof is demanded at time of trial.
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    Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7232 Filed 02/24/22 Page 27 of 97




                  4.    Paragraph 20 of Defendant's New matter is a bare conclusion of law to

          which no response is required. To the extent a response is deemed required, same is

          denied and strict proof thereof is demanded at time of trial.

                  5,    Paragraph 21 of Defendant's New Matter is a mixed statement of fact and

          law. To the extent Paragraph 21 is deemed a statement of fact, same is denied and

         strict proof thereof is demanded at time of trial. To the extent that Paragraph 21 states

         a bare conclusion of law, no response is required thereto.

                  6.    Paragraph 22 of Defendant's New Matter is denied.

                  7.    Paragraph 23 of Defendant's New Matter is denied. Further, by way of

         reply. Paragraph 23 does not set forth, with specificity, in what way Plainiiff^ claims are

         excessive and unreasonable and are therefore contrary to the Pennsylvania Rules of

         Civil Procedure requiring specificity in pleading. Accordingly, Paragraph 23 of

         Defendant's New Matter should be stricken.

                  8.    Paragraph 24 of Defendant's New Matter is a mixed statement of fact and

         law. To the extent Paragraph 24 is deemed a statement of fact, the same is denied.

         and strict proof therefore is demanded at time of trial. To the extent Paragraph 24 is a

         bare conclusion of law, no response thereto is required.

                  9.    Paragraph 25 of Defendant's New Matter is a conclusion of law to which

         no response is required. Further, by way of reply. Paragraph 25 of Defendant's New

         Matter is incapable of response and contrary to the mandate of the Pennsylvania Rules

         of Civil Procedure requiring specificity in pleading since Paragraph 25 does not set

         forth, with specificity, that portion of the Motor Vehicle Financial Responsibility Law

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         {00497749.1}
    Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7233 Filed 02/24/22 Page 28 of 97




           relied upon by the Defendants to assert that the Plaintiffs' right to recovery is barred
           and/or limited.

                    10.   Paragraph 26 of Defendant's New Matter is a conclusion of law to which

           no response is required. Further, by way of reply, Paragraph 26 of the Defendant's New

           Matter is incapable of response and contrary to the mandate of the Pennsylvania Rules

          of Civil Procedure requiring specificity in pleading since Paragraph 26 does not set

          forth, with specificity, that portion of the Fair Share Act relied upon by the Defendants

          regarding available defenses.

                   WHEREFORE, the Plaintiffs i                      minor by her parents and natural

          guardians.                                      iS parents and natural guardians of

                             ●equest that the New Matter of Defendants be stricken and that

          judgment be entered in their favor in an amount in excess of the mandatory arbitration

          limits. JURY TRIAL DEMANDED

                                                        Respectfully submitted.

                                                        FELDSTEIN GRINBERG LANG & McKEE


                                                        BY
                                                             Ryan R. Smith, Esquire
                                                             Counsel for Plaintiffs




         {00497749.1}
I
    Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7234 Filed 02/24/22 Page 29 of 97




                                                VERIFICATION

                  I                                         parents and natural guardians of

                             verify that the averments of fact made in the foregoing REPLY TO

          NEW MATTER OF DEFENDANT                                  ●are true and correct based

          upon information and belief. We understand that averments of fact in said document

          are made subject to the penalties of 18 Pa. C.S.A. §4904 relating to unsworn

          falsifications to authorities.



          Date:




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                                        CERTIFICATE OF SERVICE

               lr'*Ryan R. Smith, Esquire, hereby certify that a true and correct of the foregoing

       REPLY TO NEW MATTER OF DEFENDANT                                         'as served on the

                     day of November, 2013, by U.S. first-class mail, postage pre-paid on:




                                                          By:,
                                                                 Ryan R. Smith, Esquire




      {00497749.1}
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      Counterclaims

               The Defendant in a lawsuit may set forth in the Answer any cause of action which
               the Defendant has against the Plaintiff at the time of filing of the Answer. This is
               essentially a lawsuit against the Plaintiff.

      Crossclaim

               Any party may set forth in the Answer or Reply a cause of action against any
               other party to the action. This is essentially a lawsuit against a party, other than
               the Plaintiff, who may be liable in whole or in part on the underlying cause of
               action.

              Remember a cross-claim may only be addressed to a current party; this is not
              the way to add a party.

      Joinder of Additional Defendants

               Any party may join as an Additional Defendant any person not a party to the
               action who may be:

                      1.     Solely liable on the underlying cause of action; or

                      2.     Liable to or with the joining party on any cause of action arising out
                             of the transactions or occurrences upon which the underlying cause
                             of action is based. You should be sure to check the apiDlicable
                             Rules of Civil Procedure in your jurisdiction for the specific timing of
                             when you need to join an Additional Defendant.




      {00497772.1}
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                                      FEDERAL COURT PLEADINGS

       Initiating the Lawsuit

           Rule 3 of the Federal Rules of Civil Procedure state "A civil action is commenced by
           filing a Complaint with the Court," While this seems rather simpie and straight
           forward, the initiation of the suit, in federal court, can become a little tricky due to the
           service requirements set forth in Federal Rule of Civil Procedure 4. Pursuant to
           Rule 4, the Complaint must be served along with a Summons. A Summons must
           contain:

               a.     The name of the Court and the parties;

                b.    The name and address of the Piaintiff's attorney or, if unrepresented, of
                      the Plaintiff:

               c.     The time within which the Defendant must appear and defend;

               d.     A notification that if the Defendant fails to appear and defend, a default
                      judgment against the Defendant wiii result;

               e.     It must be signed by the cierk; and

               f.     Bear the Court's seal.

      Service

               The Summons must be served with a copy of the Compiaint. The Piaintiff is
               responsible for having the Summons, aiong with the Complaint, served within
               120 days after the Complaint is filed.

      Who May Serve the Summons and Complaint

               Any person who is at least 18 years old and not a party to the action may serve a
               Summons and Complaint

               The Plaintiff may request that the Court order that service be made by a United
               States Marshall or Deputy Marshall or by a person especially appointed by the
               Court,

      Waiving Service

              Alternatively, a Plaintiff may request a Waiver of Service of the Complaint. The
              Federal Rule of Civil Procedure governing waiver of service mandates that an
              individual, corporation or association that is subject to service has a duty to avoid
              unnecessary expenses of serving the Summons. Accordingly, the Plaintiff may
              notify such a Defendant that an action has been commenced and request that
              the Defendant waive service. The notice and request must include the following;

      {00497811,1}
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7238 Filed 02/24/22 Page 33 of 97



              a.     Be in writing and be addressed to the individual Defendant or for a
                     corporate Defendant, to an officer, a managing or general agent, or any
                     agent authorized to receive service of process.

              b.    The name and court where the Complaint was filed; a copy of the
                    Complaint, along with 2 copies of a Waiver form and a pre-paid means for
                    returning the form;

              c.    Information giving the Defendant a reasonable amount of time, at least 30
                    days, after the request was sent, or at least 60 days if sent to the
                    Defendant outside the United States, with which to respond; and

              d.    Sent by first-class mail or other reliable means.

      Failure to Waive

              If a Defendant within the United States fails to sign and return a Waiver
              requested by a Plaintiff, the Court shall impose on the Defendant;

              a.    The expenses later incurred in making service; and

              b.    The reasonable expenses, including attorney's fees, and a motion (??)
                    required to collect those service expenses.

     Time to Answer after Waiver

             If a Defendant timely returns a Waiver, it need not serve an answer to the
             Complaint until 60 days after the request was sent, or until 90 days after it was
             sent to the Defendant if the Defendant is located outside of the United States.

     Drafting the Complaint

              Pursuant to Federal Rule of Civil Procedure 8, a pleading must contain:

              1.    A short and plain statement of the grounds for the Court's jurisdiction;

             2.     A short and plain statement of the claim showing that the pleader is
                    entitled to relief; and

             3.     Demand for the relief sought.

             Although Rule 8 has not been legislatively abrogated, it seems that pursuant to
             the United States Supreme Court Decisions in Iqbal and Twombly, that what has
             been described as notice pleading in Rule 8 has now been abrogated. Pursuant
             to Iqbal, Twombly and the progeny, it seems that notice pleading has been
             replaced by fact pleading in Federal Court. There still seems to be some
             confusion as to which kinds of cases one needs to follow the dictates of Iqbal and
             Twombly, although Iqbal was a civil rights case and Twombly was an anti-trust
             case, accordingly, it seems that the safe bet is to draft pleadings in Federal
             Court, with as much detail as possible in order to satisfy the heighten pleading
     {00497811.1}
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7239 Filed 02/24/22 Page 34 of 97



               standards now in place. Presently inclusory averments in pleadings are
               insufficient and now must meet a "plausibility" standard,

              While this move away from notice pleading toward fact pleading, Federal Courts
              is still evolving, it is fair to say that Twombly and Iqbal vary in application from
              jurisdiction to jurisdiction, but also likely vary in application from judge to judge
              within each jurisdiction. Therefore, it is important to plead as may detailed facts
              in your Complaint as possible in order to avoid dismissal pursuant to a 12(b)(6)
              motion.

       Answering the Complaint

               A party responding to a Complaint must state in short and plain terms all of its
               defenses to each claim asserted and also admit or deny the allegations asserted
               against it by an opposing party.

               A denial must fairly respond to the substance of the allegation.

               General denials versus specific denials

               A party may deny all the allegations of a pleading, including jurisdictional
               grounds, with a general denial. If a party does not intend to deny all the
               allegations, it must either specifically deny designated allegations or generally
               deny all expect those specifically admitted.

               The party that intends to deny only part of an allegation must admit the part that
               is true and deny the rest.

              If a party lacks knowledge or information sufficient to form a belief about the truth
              of an allegation, then that party must so state in response to that particular
              allegation. Effective (??)failing to deny an allegation is admitted if a responsive
              pleading is required and the allegation is not denied.

              Affirmative Defenses

              When responding to a Complaint, the party must affirmatively state any defenses
              including:

               1.     Accord and satisfaction;

              2.      Arbitration and award;

              3.      Assumption of the risk;

              4.      Contributory negligence;

              5.      Duress;

              6.      Estoppel;

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              7.     Failure of consideration;

              8.     Fraud;

              9.     Illegality;

              10.    Injury by fellow servant;

              11.    Latches;

              12.    License;

              13.    Payment;

              14.    Release;

              15,    Res judicata;

              16.   Statute of Frauds;

              17,   State of Limitations; and

              18.   Waiver.

     12(bU6) Motions

              Pursuant to Federal Rule of Civil Procedure 12(b), a party may assert the
              following defenses:

              1.    Lack of subject matter jurisdiction;

             2.     Lack of personal jurisdiction;

              3.    Improper venue;

             4.     Insufficient process;

              5.    Insufficient service of process;

             6.     Failure to state a claim upon which relief can be granted; and

             7.     Failure to join a party under Rule 19.

             Due to the heightened pleading standards required under Twombly and Iqbal,
             you can most certainly be assured of receiving a 12(b)(6) Motion to Dismiss for
             Failure to State a Claim, in response to your Complaint. Accordingly, if a
             12(b)(6) motion is filed, which in most instances should be, then the Plaintiff may
             respond by filing an Amended Complaint or by filing a response and Brief in
             Support Thereof to the 12(b)(6) motion.

     {00497811.1}
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      Third-Party Pleading

               A defending party may, within 14 days after serving its original Answer, serve a
               Summons and Complaint on a nonparty who is, or may be liable to it, for all or
               party of the claim against it. If that defending party, as a third-party Plaintiff
               wants to plead in another party more than 14 days after serving its original
               Answer, it must obtain leave of court to do so.

      Third-Party Defendant's Claims and Defenses

               The third-party Defendant:

               a.     Assert any defense against the third-party Plaintiff's claim under Rule 12;

               b.    Assert any claim against third-party Plaintiff under Rule 13(a) dealing with
                     compulsory counterclaims, and may assert any counterclaim against the
                     third-party Plaintiff under Rule 13(b) relating to permissive counterclaims.
                     The third-party Defendant may also assert against the Plaintiff any
                     defense that the third-party Plaintiff has to the Plaintiffs claim; and

               c.    The third-party Defendant may assert against the Plaintiff any claim
                     arising out of the transaction or occurrence with is the subject matter of
                     the Plaintiff's claim.

      Third-Party Defendant's Claim against a Non-Party

               A third-party Defendant may proceed against a non-party who is, or may be
               liable, to the third-party Defendant for all or part of the claim.

      When Plaintiff May Bring in a Third-Party

              A Plaintiff may bring in a third-party Defendant against a non-party if it believes,
              in good faith, that the non-party may be liable to it or the Plaintiff for all or part of
              the claim against it.




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            TIUo of
                               An Introduction to §1983 Civil Rights Pleading Practice
            Program:
            Date: Febniary 8, 2022 4:41pm EST                       Location: Now York, NY


            Format: (please check)
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              Simulcast                                       Audio/V'ideotapo


            All credits are calculated on a 50-minute hour.
            Credit for Attendance: Total     1.20  as Indicated below;
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                             0.00 Ethics credits (exclusive of Diversity/Inclusion/Elimination of Bias)
                                    Divarsity/Incliision/Elimination of Bias credits


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                                    Additional General credits for faculty pfnticipalioii (excluding Ethics)
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                                    Elimination of Bias)
                                    Additional Diver.sily/Inclusion/Elimination of Bias credits for facultj' participation


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            Attorneys: Retain this certificate for a period of at least three years from tlie date of your attondance. In
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                                                                            Attorney
            Signature;                                                      ID #:


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            Revised: 11/2020, CN 11388                                                                          ]3age 1 of 1
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    Overview        Credits     Faculty         Reviews



     Overview

     Following the Supreme Court's decisions in Bell Atlantic v. Twombly and
     Ashcroft v. Iqbal, the former federal "notice" pleading standard has been
    supplanted by so-called "plausibility" pleading. This new standard presents
     unique challenges in the civil rights context, where government actors may
     hold critical sources of information that may not be available to litigants in
     advance of initiating suit. Municipalities and other state actors have been
     quick to adapt to this favorable new standard, and FRCP 12 motion
     practice is common in §1983 litigation today.
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    In this course, we will explore the intricacies of plausibility pleading in the
    context of §1983 actions, and give practitioners an introduction to the
    claims, defenses, and core constitutional concepts that underlay §1983
    litigation in both police and corrections cases. We will explore critical
    differences between §1983 practice and more conventional common law
    litigation, and identify policy concerns that attorneys should be aware of in
    §1983 practice.

    This course, presented by Samuel B. Cohen, noted New York §1983
    practitioner, will provide practitioners with tools to create durable,
    persuasive §1983 pleadings that have the best chances of surviving FRCP
    12 review, while preserving critical issues for discovery against both
    individual and supervisory defendants.

    Learning Objectives:
       I.   Introduction to practical "plausibility" pleading for §1983 practitioners
      II.   Overview of common §1983 claims and defenses
     III.   Skills for "Rule 12 Proofing" §1983 pleadings
     IV.    Explore policy considerations that may be relevant to §1983 practice




    Topics covered in this course:

                                      Anti-Racism Library


                                          Civil Rights



    c                                    Constitutional


                                         Public Interest



    Credits                                                                             2
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       New Jersey CLE


       Status: Approved



       Credits: 1.2 General



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    Outstanding presentation. The best.
    Marcia R.   Jan 15, 2022
                                                                               1
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7246 Filed 02/24/22 Page 41 of 97

    Fantastic! Very informative -- loved the instructor.
    Joe M.      Dec 27, 2021


    Super job. Very clear.
    Justin S.    Nov 1,2021


    Excellent resource and instruction.
    Bridget Z.       Aug 6. 2021


     Knowledgeable. I hope you bring him back for other litigation CLE's.
    Shannon J.        Jul 14,2021




     More Courses by Samuel B. Cohen

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                          and Client Counseling
                          4.9 ★★★★★
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     I
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                            An Introduction To Qualified Immunity In §1983 Civil Rights
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                            4.9 ★ ★ ★ ★ ★

                            First Amendment Update: Printable Guns, Patisserie, and the
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Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7248 Filed 02/24/22 Page 43 of 97




 QiiUi^ee'


  New York
  Certificate of Completion
  Course Title

  Introduction to Litigation




  Attorney Name

  Howard Kleinhendler

  Bar Number

 2657120

  Date of Completion                        Credit Info
  Feb 08,2022                               Credit Type; Areas of professional practice
                                            Activity Type: Self Study
  Course Type
                                            Total Credit Hours: 1.0
 On-demand
                                            Jurisdiction Course Number: N/A
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     O CLE


     Introduction to Litigation

     Written Materials


       Tab A   Outline
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7251 Filed 02/24/22 Page 46 of 97




    An Introduction
    to Litigation
    60 Mins
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7252 Filed 02/24/22 Page 47 of 97




        1.   Objectives
             a.    What is iitigation?
             b.    What are the most common types of iitigation?
             c.    What are the steps of litigation?
        2.   Litigation Defined
             a.      “Litigation.” Merriam-Webster.com Dictionary, Merriam-Webster,
                     https://wvvw.merriam-webster.com/dictionary/litiaation. (Last Accessed
                     December 9, 2021)
             b.      LITIGATION, Black's Law Dictionary (11th ed. 2019)

        3.   Types of Litigation
             a.     Criminal
             b.     Civil
             c.     Administrative
        4.   Burden of Proof
             a.     Beyond a Reasonable Doubt
             b.     Clear and Convincing Evidence
             c.     Preponderance of the Evidence
        5.   Criminal Litigation - Most Common Types
             a.     Non-Violent Crimes
                             “What the data says (and doesn’t say) about crime in the
                             United States: Theft is most common property crime, assault
                             is most common violent crime.” Pew Research Center,
                             November 20, 2020_
                             https://www.pewresearch.0rg/fact-tanky202O/l 1 /20/facts-
                             about-crime-in-the-u-s/ft 20-11-12 crimeintheus 1/ (Last
                             Accessed December 9, 2021)
             b.     Violent Crimes

        6.   Civil Litigation - Most Common Types of Litigation Pending Against
             Companies
             a.      Labor/Empioyment
             b.      Contracts
             c.      Personal Injury
                               Norton Rose Fulbright’s 2019 Litigation Trends Annual Survey,
                               https://www.nortonrosefulbriaht.eom/-/media/files/nrf/nrfweb/kn
                               nwledae-Ddfs/final—2019-litiaation-trends-annual-survev.pdf?
                               la=en-us&revision=d3e9d131-100e-4d6c-a199-eff8f7cae806
                            (Last Accessed December 9, 2021)
        7.   Administrative Litigation - Breyer, Stephen, et al.. Administrative Law &
             Regulatory Policy, Fifth Edition, at p. 3(Aspen Pub. 2001)
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7253 Filed 02/24/22 Page 48 of 97




                   Examples:
             a.    Equal Employment Opportunity Commission (“EEOC”) investigations
             b.    Denial of liquor license by the Bureau of Alcohol, Tobacco, Firearms
                   and Explosives (“ATF”)
             c.    Antitrust Litigation by the Federal Trade Commission (“FTC”)

       8.    Steps of Criminal Litigation
             a.    Investigation
             b.       Charging
             c.       Initial Hearing/Arraignment
             d.       Discovery
             e.       Plea Bargaining
             f.      Preliminary Hearing
             g-      Pre-Trial Motions
             h.      Trial
             I.      Appeals
       9.    Steps of Civil Litigation
       10.   The Rules
             a.    Federal Rules of Civil Procedure
             b.    State Court Rules
             c.    Local Rules
             d.    Administrative Rules
       11.   Pre-litigation
             a.      Pre-litigation
             b.      Pleadings
             c.      Discovery
             d.     Summary Judgment
             e.      Trial
             f.      Appeals

       12.   Client Intake Interview
       13.   Internet Sleuthing
       14.   To Retain or Not to Retain
             a.     Non-Engagement Letter
             b.     Pre-Litigation Retainer
             c.      Litigation Retainer
       15.   How You Get Paid
             a.     Hourly
             b.     Flat Fee
             c.     Contingency
       16.   Pleadings
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7254 Filed 02/24/22 Page 49 of 97




        17.   Plaintiff Files a Complaint
              a.      Summons
              b.     Complaint
              c.     Service
        18.   Defendant Files a Responsive Pleading
              a.    Motion to Dismiss
              b.    Answer
        19.   Time to file a responsive pleading
              a.    Federal
              b.    State
        20.   Defendant Motion to Dismiss
              a.    Federal 12(b) Motion to Dismiss
                       ●     (1) lack of subject-matter jurisdiction;
                       ●     (2) lack of personal jurisdiction;
                       ●     (3) improper venue;
                       ●     (4) insufficient process;
                       ●     (5)insufficient service of process;
                       ●     (6)failure to state a claim upon which relief can be granted;
                             and
                     ●      (7)failure to join a party under Rule 19.
        21.   Defendant Files an Answer - Federal Rule 8
        22.   Discovery
        23.   Scheduling Conference
              a.    Federal 16b
              b.    State Rules
        24.   Types of Discovery
              a.     Written Discovery
              b.     Oral Discovery
              c.     Expert Discovery
        25.   Written Discovery
              a.     Initial Disclosures (Federal) 26a1
              b.     Interrogatories
              c.     Requests to for Production of Documents
              d.     Requests for Admissions
        26.   Oral Discovery
              a.     Depositions
                               Party Witnesses
                               Fact Witnesses
        27.   Expert Discovery
              a.    Independent Medical Examinations
              b.    Expert Depositions
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7255 Filed 02/24/22 Page 50 of 97




       28.   Discovery Motions
             a.    Motion to Compel
             b.    Motion to Quash
             c.    Motion for a Protective order
             d.    Motion for Sanctions
       29.   Motion for Summary Judgment
             a.      Appeal to Final Judgment
             b.      Appeal to Partial Judgment
       30.   Trial Preparation
             a.      Pretrial Conference
             b.      Motions In Limine
       31.   Trial Notebook
             a.      Witness List
             b.      Exhibit List
             c.      Voir Dire
             d.    Opening
             e.    Direct Testimony Outline
             f.    Cross-Examination Outline
             g.    Closing
       32.   Witness Preparation
             a.    Party Witnesses
             b.    Fact Witnesses
             c.    Expert Witnesses
                           Rules 702 & 703
                      ●     Rules 608-613 Impeachment
       33.   Exhibits
             a.     Pre-mark
             b.     Make a list
             c.     Make copies
             d.     Be prepared for objections
       34.   Voir Dire
             a.     Know the Rules
             b.     Know your theme
             c.     For Cause
             d.     Peremptory Challenges
       35.   Opening Statement
       36.   Plaintiffs Case
             a.      Direct Examination
             b.     Cross-Examination
             c.      Redirect and Re-cross
       37.   Defendant’s Case
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7256 Filed 02/24/22 Page 51 of 97




             a.     Motion for Directed Verdict
             b.     Direct Examination
             c.     Cross-Examination
             d.     Redirect and Re-cross
       38.   Verdict
       39.   Post-Trial Motions
             a.     Motion for Judgment Notwithstanding the Verdict
             b.     Motion for a new trial
       40.   45.Post-Trial Appeals
                            Intermediate Appellate Court
                            State or US Supreme Court
                            Post-Trial Settlements
       41.   Enforce Judgment
       42.   Alternative Dispute Resolution
             a.     Litigation Costs
             b.     Settlement Negotiations
                      ●       Federal Rule 408
             c.     Mediation
             d.     Arbitration
       43.   Resources
             a.     State and Local Bar Associations
             b.     Legal Network
             c.     Me
       44.   Conclusion
Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7257 Filed 02/24/22 Page 52 of 97


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     Attorney Name: Howard Kleinhendler                                                State: New York


     Activity Title: Advanced Drafting of Complaints and Answers: How to Go Beyond Required Content
     and Reach Multiple Audiences

     Original Activity Date and Time: 12/5/2019; 1:00 pm-2:30 pm ET

     Course Format: PreRecorded Online Audio/Video Completion Date: 2/10/2022

    This program is
    approved for a maximum of:             1.50     general CLE credits;

    Including:

     Instruction in ethics                 0


     CLE Approval in Other States: AZ,AR,CA,HI,IL, MS, MT,NM,NV, OK,PA,RI, TX,VT,WV

     ♦Participation was verified by the requirement of an embedded listening code which is announced during the presentation.




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THURSDAY, DECEMBER 5, 2019
1 pm Eastern     12pm Central | 11am Mountain         10am Pacific


                                                                           Today’s faculty features:

                                         Payal Salsburg, Senior Counsel, Laredo & Smith, Boston

                                       Sonya Smallets, Partner, Minnis & Smallets, San Francisco




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    printer icon.




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Advanced Drafting of                                                                               ii ?■
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Complaints and Answers:
How to Go Beyond Required
Content and Reach Multiple
Audiences



 Payal Salsburg, Laredo & Smith, LLP

 Sonya Smallets, Minnis & Smallets LLP

                                                                                Strafford
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About Us

 Payal Salsburg, Laredo & Smith, LLP

 ► Represents businesses and executives in litigation, white collar
   criminal defense, and internal investigations
 ► Office in Boston, Massachusetts; previously practiced in Florida
   state and federal courts




 Sonya Smallets, Minnis & Smallets, LLP

 ► Represents employees, primarily in discrimination,
   harassment, and wrongful termination suits
 ► Office in San Francisco, California; practices in state and federal
   court throughout Northern California


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Purpose of the Complaint                                                                          ■
                                                                                                                  .




 ^ Initiating the case by stating legally sufficient claims
      But has the potential to do much more
 p'   Defines the playing field
      Can, and generally should, be a persuasive document
      Important to think about who your audience is, what you
      are trying to accomplish




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        Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7265 Filed 02/24/22 Page 60 of 97
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Content of Complaint(FRCP 8a)                                                                IH   m
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  A pleading must state:

  (1) a short and plain statement of the grounds for the court's
  jurisdiction;

  (2) a short and plain statement of the claim showing that the
   pleader is entitled to relief; and

  (3) a demand for the relief sought.




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       Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7266 Filed 02/24/22 Page 61 of 97
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Additional Rules(FRCP 8d)                                                                   ■
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 (1) Each allegation must be simple, concise, and direct.

 (2) May set out 2 or more statements of a claim or defense
 alternatively or hypothetically, either in a single count or defense or in
 separate ones.

 (3) May state as many separate claims or defenses, regardless of
 consistency.




                                                                                 Strafford
     Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7267 Filed 02/24/22 Page 62 of 97
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Pleading Standards                                                                        ■
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  FRCP 8(a)(2)'s requirement that the complaint must contain
  a ''showing that the pleader is entitled to relief requires
  the pleading of "factual allegations" that "raise a right to
                                                                               /f
  relief above the speculative level" to the "plausible level.
  Bell Atlantic Court v. Twombly,550 U.S. 544, 555 (2007).
  The complaint need not state in detail the facts upon which
  the complaint is based. Bell Atlantic Court v. Twombly, 550
  U.S. 544,556(2007).

  But it must provide "sufficient factual matter, accepted as
                                                                  n
  true, to 'state a claim to relief that is plausible on its face.
  Ashcroft V. Iqbal, 556 U.S. 662, 678(2009).
  Distinction between factual and conclusory allegations
  Court,judge, case specific

                                                                               Strafford
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Special Matters(FRCP 9)                                                                               -
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 (b) Fraud or Mistake - must state with particularity the
 circumstances constituting fraud or mistake.

 (c) Conditions Precedent - can allege generally that all conditions
  precedent have occurred or been performed. When denying that a
 condition precedent has occurred, must do so with particularity.

 (g) Special Damages - must be specifically stated.




                                                                                 Strafford
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Who are you writing for?                                                                       i1
                                                                                               i,r'“




^ Judge

   Plaintiff

   Defendant

  Opposing Counsel

  Insurers

  Jury

. Public/Press




                                                                                    StrafForc-
    Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7270 Filed 02/24/22 Page 65 of 97
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Audience: The Judge

  Legal sufficiency
  First impression
  Use of a summary
  Scope of discovery




                                                                              Strafford
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Audience: The Plaintiff                                                                     I
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  Telling their story
   Privacy




                                                                               Strafford
         Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7272 Filed 02/24/22 Page 67 of 97
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Audience: The Defendant                                                                       ■
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      Think about who the decision-makers are likely to be and
      what their motivations are

      Sympathy; tell a story, isolate the bad actor
 Ii
      Fear: reputational concerns, use of a draft complaint




                                                                                   StrafForc
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Audience: Opposing Counsel                                                                         I-




  Competence of counsel
  Willingness to invest resources
  Risk/exposure
  Obtaining admissions




                                                                              StrafForc.
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Audience: Insurers                                                                        %
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  Strategizing re all potential sources of insurance
  Including covered clainns




                                                                               Strafford
     Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7275 Filed 02/24/22 Page 70 of 97




Audience: The Jury

  Again, tell a story
  Do not make promises you cannot keep
  Avoid the kitchen sink
  Emotion has to be earned




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Audience: Press/Public                                                                       i




 r   First: ethics

     Not entirely within the lawyer's control
     But certain kinds of connplaints are more likely to generate
     press and can seek It
     Remember: reporters and the general public are not
     lawyers
     Press commonly occurs right after the complaint is filed

     Frequently, the complaint is the only substantive
     information in the public record

     Tip: Pay attention to the comments!
      Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7277 Filed 02/24/22 Page 72 of 97

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Process of Drafting the                                                                    B
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Complaint
   Gather information from the Plaintiff

   Investigate
   Research legal theories
   Choose a court

   Anticipate defenses




                                                                                Strafford
        Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7278 Filed 02/24/22 Page 73 of 97




Drafting Tips
^ Remember: there is more to a complaint than legal
  sufficiency
p Tell a story
    Use plain English
*   Do not include unnecessary, potentially harmful
    information

" Think carefully about whether you can prove all of the facts
  you are alleging and whether all the claims are necessary
-   Remember that there is likely to be a lot you do not yet
    know

r Consider using form jury instructions for causes of action




                                                                                  Strafford
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Responding to a Complaint                                                                   m




           Avoid liability and even the playing field.


    Responding to a Connplaint (answering. Rule 12 nnotions,
    removing to federal court)

    Playing Defense


    Preserving your rights for appeal and shaping the scope of
    discovery through Affirmative Defenses


    Flipping the script with Counterclaims, spreading liability
    with Crossclaims and Third-Party Complaints

                                                                             Strafford
      Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7280 Filed 02/24/22 Page 75 of 97
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Removal                                                                                    I
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(28 US.C §§ 1441,1446)

    strategy considerations


    May be based on diversity or a federal question


    30 days after receipt of initial pleading or service of
    summons (if service not required)


    May be based on amended complaint, pleading, motion,
    order, or other paper
     Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7281 Filed 02/24/22 Page 76 of 97
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Motions to Dismiss(FRCP 12b)                                                                     »




   Timing of Responses


   Bases for a Motion to Dismiss:

      subject matter jurisdiction; personal jurisdiction; improper
      venue; insufficient process; insufficient service of process;
      failure to state a claim; failure to join a party under Rule 19;
      misnomer of o party; pendency of a prior action in MA;
      improper damages


   Strategy considerations


   Check rules to see if partial motion allowed

                                                                               StrafForc.
             Case 2:20-cv-13134-LVP-RSW ECF No. 194-2, PageID.7282 Filed 02/24/22 Page 77 of 97




    Other Rule 12 Motions                                                                         m         PI
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►   Motion for judgment on the pleadings
          After pleadings are closed but early enough not to delay trial


     Motion for a more definite statement

      ► Before answering
      I   So vague or ambiguous that D cannot reasonably respond
          E.g., multiple tortfeasors, defining trade secrets



     Motion to strike

          Before answering
          Redundant, immaterial, impertinent, scandalous material



                                                                                       Strafford
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Pre-Drafting To Dos:
Getting the Facts

    Interview relevant witnesses


    Review relevant documents


    Construct a timeline of events


    Parse out allegations and ask your client to respond to each
    one




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Defenses; Admissions;
Denials.(FRCP 8b)
 In responding to a pleading:

 (1)(A)short and plain statement of defenses to each claim; and

    (B) admit or deny the allegations.

 (2) Denial must ''fairly respond" to the substance of the allegation.

 (3) General denials allowed in good faith, otherwise specific denials.

 (4) Partial denials allowed (admit the remainder).

 (5)"Lacks knowledge or information sufficient to form a belief about the
 truth of an allegation" is effectively a denial.


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Responding to Allegations
FRCP 8(b)

    Admit, deny, lack knowledge or Information


    Failure to deny = generally, an admission
          ► Unless no response is required under FRCP 8(d)
                   Legal conclusions
                   References to documents

                r Allegations/counts against other parties
                   Prayer for relief



    Parse out each paragraph into discreet allegations, respond to
    each (in good faith)


    Different approaches to responding to allegations

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                                                                                                fM
Example #i                                                                                      ms




Allegation: 13.[Co-Defendant] is a Delaware corporation with a
principal place of business at 100 Sweetheart Avenue,
Cambridge MA.
                 Option 1                                                 Option 2
 Defendant lacks Information sufficient               On information and belief, admitted.
 to form a belief as to the truth of the
 allegations set forth in Paragraph 13.




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                                                                                                ■■'srim:



Example #2                                                                                    30

Allegation: 5. This Court has specific personal jurisdiction over
Defendant by his consent. In section 5 of his employment agreement,
Defendant agreed that Massachusetts would be the exclusive forum
for any dispute pertaining to or arising from the agreement.
                                             Option 1
 Admitted.
                                             Option 2

 The allegations contained in Paragraph 5 constitute legal conclusions to which
 no response is required. Further, to the extent the allegations purport to
 characterize the contents of a document, such document speaks for itself and,
 thus, no response is required. To the extent that the allegations in Paragraph 5
 misstate or mischaracterize the contents of the document, they are denied. To
 the extent that a further response is required. Defendant denies ail allegations in
 Paragraph 5.


                                                                                    Strafford
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Example #3
Allegation: 18. Plaintiff is a leading provider of cat accessories in
the Continental United States and specializes in developing new
and innovative catnip flavors.
                                                Option 1
 Denied.

                                               Option 2

  On information and belief, admitted.



                                             Option 3
 Defendant is without sufficient knowledge or information to form a belief as to
 the truth of the allegations in Paragraph 18.


                                                                                     Strafford
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Example #4                                                                                      ■   -;riV




Allegation: 38, On information and belief, Defendant is currently
expanding its marketing efforts in the U.S. Northeast and has raided
Plaintiffs talent pool in order to gain an unfair competitive advantage
over Plaintiff.
                  Option 1                                                Option 2

 Defendant admits only that it is                      Defendant admits that it is currently
 currently expanding its marketing                     expanding its marketing team in the
 team in the Northeast region of the                   Northeast region of the United
 United States. Defendant denies all                   States. Defendant further admits
 remaining allegations in Paragraph                    that it has hired several of Plaintiff's
 38.                                                   employees in the last year.
                                                       Defendant denies ail remaining
                                                       allegations in Paragraph 38.

                Option 3
 Denied.
                                                                                     Strafford
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Example #5

Allegation: 54. Despite Plaintiffs multiple requests, Defendant
has failed to return Plaintiff's PowerPoint Deck.
                  Option 1                                             Option 2
 Defendant admits that Plaintiff has                  Defendant admits that, due to its
 made a number of requests that                       litigation preservation obligations. It
 Defendant return Plaintiff's PowerPoint              has not destroyed the Deck.
 Deck. Defendant further admits that,                 Defendant denies the allegation that
 although it has provided copies of the               it has not returned the Deck insofar
 Deck to Plaintiff, it has not "returned"             as it has produced the Deck to
 the Deck. Defendant denies all                       Plaintiff during expedited discovery.
 remaining allegations in Paragraph 54.               Further answering...




                                                                                   Strafford
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Example #6
Allegations:


117. Plaintiff repeats and realleges the allegations contained in paragraphs 1-116 above.


118. The Contract is a binding and enforceable agreement between Plaintiff and [Co-
Defendant].

                                               Sample

 117. Defendant incorporates by reference its responses to all of the paragraphs
 above as though set forth fully herein.


 118. Paragraphs 117 through 123 purport to state a claim against [Co-Defendant],
 and not against Defendant, and therefore do not require a response. The allegations
 contained in Paragraph 118 also constitute legal conclusions, to which no response is
 required. To the extent that a response is required. Defendant denies the allegations
 in Paragraph 118.
                                                                      Strafford
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Request for Relief &
                                                                                                     sI




Jury Demand

   Generally deny that Plaintiff is entitled to any of the relief
                                         //
   requested in its "Request for Relief


   Defendant is entitled to demand a jury trial




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Affirmative Defenses                                                                        I'




FRCP 8(c)

   accord and satisfaction                     laches
   arbitration and award                        icense

   assumption of risk                          payment
   contributory negligence                     release
   duress                                      res judicata
   estoppel                                    statute of frauds
   failure of consideration                I   statute of limitations
   fraud                                       waiver

   illegality                                  discharge in bankruptcy
   injury by fellow servant


                                                                                Strafford
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                                                                                             I

More Examples
of Affirmative Defenses
     unclean hands                                necessity

 ●   unjust enrichment                           consent

     P has not suffered damages                  fair use

     P failed to mitigate damages
     P's contracts are invalid

     D's conduct was lawful,                   Affirmative v. negating defenses.
     justified, privileged
     P's claims brought in bad
                                               Highiy claim- andfact- specific.
     faith

     underlying patents invalid
                                               Reserve your rights to amend!


                                                                                  Strafford
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Counterclaims
     Compulsory counterclaims - FRCP 13a
        Arises out of transaction or occurrence that is the subject matter of the
        opposing party's claim

 ^   Permissive counterclaims - FRCP 13b


     Rules 19 and 20 govern joinder of parties to a counterclaim


     Strategy Considerations
         Preserving compulsory counterclaims
         Leverage in settlement negotiations
         Recovery/offsetting liability
         Controlling discovery
         Leveling the playing field


                                                                                 Strafford
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Crossclaims FRCP 13(g)

  Any claim by one party against a co-party if the claim arises
  out of the transaction or occurrence that is the subject
  matter of the original action or of a counterclaim.


  Strategy considerations
      Indemnification

      Preserving your claims
      Multiple tortfeasors




                                                                              Strafford
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                                                                                           ■!




Joining Additional Parties

   FRCP 14-Third Party Practice


   FRCP 19 - Required joinder


   FRCP 20 - Permissive Joinder



   Strategy considerations
    ► Indemnification
    P Preserving your rights
    ► Multiple tortfeasors

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Helpful Resources                                                                        KhIB




  PACER - pull complaints/answers in other similar cases
  Commercially-available samples and checklists
      Massachusetts Practice (or your state's)
     Thomas Reuters Practical Law

  Internal firm samples and checklists
  Publicly-available guidance for your state
  Google. Google. Google.




                                                                              Strafford
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                                                                                    Strafford
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 J.-
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